Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 1 of 20 Page ID
                                 #:41736


  1
      Marc M. Seltzer (54534)                  Howard Langer (Pro Hac Vice)
  2   mseltzer@susmangodfrey.com               hlanger@langergrogan.com
      SUSMAN GODFREY L.L.P.                    LANGER GROGAN AND DIVER PC
  3   1900 Avenue of the Stars, Suite 1400     1717 Arch Street, Suite 4020
      Los Angeles, CA 90067-6029               Philadelphia, PA 19103
  4   Phone: (310) 789-3100                    Tel: (215) 320-5660
      Fax: (310) 789-3150                      Fax: (215) 320-5703
  5
      Scott Martin (Pro Hac Vice)
  6   smartin@hausfeld.com
      HAUSFELD LLP
  7   33 Whitehall Street, 14th Floor
      New York, NY 10004
  8   Tel: (646) 357-1100
      Fax: (2121) 202-4322
  9
 10   [Additional Counsel on Signature Page]
 11   Plaintiffs’ Co-Lead Counsel
 12
                           UNITED STATES DISTRICT COURT
 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14

 15
      IN RE: NATIONAL FOOTBALL                 Case No.: 2:15-ml-02668−PSG (JEMx)
 16   LEAGUE’S “SUNDAY TICKET”
      ANTITRUST LITIGATION
 17

 18                                            PLAINTIFFS’ MEMORANDUM
      THIS DOCUMENT RELATES TO ALL             OF POINTS AND AUTHORITIES
 19   ACTIONS                                  IN SUPPORT OF MOTION TO
                                               COMPEL COMPLIANCE WITH
 20                                            THE COURT’S AUGUST 11, 2022
                                               ORDER AND TO PERMIT
 21                                            PLAINTIFFS TO TAKE
                                               DEPOSITIONS REGARDING THE
 22                                            NEW SUNDAY TICKET
                                               AGREEMENTS
 23
                                               REDACTED VERSION OF
 24                                            DOCUMENT PROPOSED TO BE
                                               FILED UNDER SEAL
 25
                                               JUDGE: Hon. Philip S. Gutierrez
 26                                            DATE: November 10, 2023
                                               TIME: 1:30 p.m.
 27                                            COURTROOM: First Street Courthouse
                                                 350 West 1st Street
 28                                              Courtroom 6A
                                                 Los Angeles, CA 90012
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 2 of 20 Page ID
                                 #:41737



  1                                         TABLE OF CONTENTS
  2
                                                                                                                                    Page
  3
           I.     INTRODUCTION .................................................................................................. 1
  4
           II.    BACKGROUND .................................................................................................... 2
  5
                  A.        The New Agreements for Sunday Ticket .................................................... 2
  6
                  B.        Depositions Taken Before the Fact Cut-off ................................................ 3
  7
                  C.        Order Permitting Limited Discovery After the Deadline for Fact
  8                         Discovery .................................................................................................... 3
  9               D.        The Order Compelling the NFL Defendants to Produce
                            Documents About the Negotiations ............................................................ 4
 10
                  E.        Plaintiffs’ Efforts to Obtain Discovery About the New
 11                         Agreement ................................................................................................... 6
 12        III.   ARGUMENT .......................................................................................................... 7
 13               A.        The Noticed Depositions Are Authorized by Court Order. ........................ 8
 14               B.        The Noticed Depositions Are Relevant and Proportional. .......................... 9
 15               C.        Plaintiffs Did Not Waive Any Rights to the Noticed
                            Depositions................................................................................................ 13
 16
           IV.    CONCLUSION ..................................................................................................... 16
 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                                   i
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 3 of 20 Page ID
                                 #:41738



  1                                         TABLE OF AUTHORITIES
                                                                                                                    Page(s)
  2

  3   Cases
  4   C & C Jewelry Mfg., Inc. v. West,
  5
        2011 WL 767839 (N.D. Cal. Feb. 28, 2011) ...................................................... 15

  6   Cedars-Sinai Med. Ctr. v. Quest Diagnostics Inc.,
        2019 WL 12520126 (C.D. Cal. Apr. 1, 2019) .................................................... 15
  7

  8
      Century Aluminum Co. v. AGCS Marine Ins. Co.,
        2012 WL 2357446 (N.D. Cal. June 14, 2012) ................................................... 15
  9
      Multiple Energy Techs., LLC v. Casden,
 10     2022 WL 16972482 (C.D. Cal. Nov. 16, 2022) ................................................. 13
 11
      In re: NFL’s “Sunday Ticket” Antitrust Litigation,
 12      No. 5:23-mc-80213-NC (N.D. Cal. Sept. 13, 2023), Dkt. 15 .............................. 6
 13   Other Authorities
 14
      Fed. R. Civ. P. 23(b)(2) ............................................................................................. 9
 15
      Fed. R. Civ. P. 26 .............................................................................................. passim
 16

 17   Fed. R. Civ. P. 30(a) ................................................................................................ 15

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                                                  ii
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 4 of 20 Page ID
                                 #:41739



  1   I.    INTRODUCTION
  2         In this antitrust case, Plaintiffs seek damages and injunctive relief based on

  3   the NFL Defendants’ alleged interlocking web of anticompetitive agreements to

  4   limit access to out-of-market telecasts of NFL games, which had the purpose and

  5   effect of driving up the price of access to those games. To see those games, NFL

  6   fans have been required to subscribe to and pay dearly for the NFL Sunday Ticket

  7   package. Because Plaintiffs knew that the exclusive contract with DIRECTV to sell

  8   access to Sunday Ticket was coming to an end before the 2023 season began, and

  9   that no new contract for Sunday Ticket had been made by the time of the Court’s

 10   August 5, 2022 discovery cut-off, Plaintiffs brought two motions to permit

 11   discovery after the cut-off. One motion was to compel document discovery

 12   regarding the new deal once it had been made and a Rule 30(b)(6) deposition of the

 13   NFL about those documents and the new deal. That motion was heard and

 14   determined by Magistrate Judge McDermott, who granted Plaintiffs’ motion. The

 15   second was a motion to this Court to allow post-cut-off discovery more generally

 16   about the new deal, including depositions regarding the discussions and

 17   negotiations leading up the new deal.

 18         In fact, two new deals were made for Sunday Ticket, one for residential

 19   subscribers with Google, and one for commercial subscribers with a new NFL joint

 20   venture. In the lead up to those new deals,

 21

 22

 23

 24         Of course, the new deals are highly relevant to Plaintiffs’ case. The terms of

 25   the new deals, what was proposed and rejected by the NFL, what less restrictive

 26   terms of access could have been made available, what was expected regarding

 27   pricing to subscribers, and other related topics, relate directly to the “but for” world

 28   that would have been possible without the agreed upon restraints on telecast. The

                                                 1
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 5 of 20 Page ID
                                 #:41740



  1   new agreements are also of obvious relevance to Plaintiffs’ request for injunctive
  2   relief against the continued enforcement of these anti-competitive contracts and
  3   exclusive dealing arrangements.
  4         But the NFL Defendants have refused to make any of their four key officials
  5   who were deeply involved in the negotiations over the new deals available for
  6   deposition, arguing that plaintiffs are somehow limited to taking the single Rule
  7   30(b)(6) deposition ordered by Magistrate Judge McDermott. This Court, however,
  8   quite appropriately ordered that post-cut-off discovery could be taken regarding the
  9   new Sunday Ticket arrangements which had not yet been made by the cut-off date
 10   and were not made until months afterwards. Even if Plaintiffs had not moved to
 11   take that discovery after the cut-off, it would be appropriate to allow that discovery
 12   to be taken now.
 13         By this motion, Plaintiffs simply seek an order from this Court compelling
 14   the NFL to comply with what was previously ordered, namely, the right to conduct
 15   depositions of fact witnesses regarding the new deals and what led up to them.
 16   Plaintiffs seek the depositions of only four fact witnesses at this time. Their roles
 17   are described in detail below. Their testimony will bear directly on issues which lie
 18   at the core of plaintiffs’ case and could not have been elicited before the discovery
 19   cut-off.
 20   II.   BACKGROUND
 21         A.     The New Agreements for Sunday Ticket
 22         The NFL has now reached two separate agreements for the distribution of
 23   Sunday Ticket beginning in the 2023 season: one with Google for residential-
 24   subscriber distribution and one with EverPass Media (a joint venture between an
 25   NFL affiliate and a private investment firm) for commercial-subscriber distribution.
 26   On December 21, 2022, the NFL executed an agreement with Google to make
 27   YouTube the exclusive distributor of the package to residential subscribers. On
 28   March 28, 2023, the NFL announced that EverPass will hold the exclusive rights to

                                                2
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 6 of 20 Page ID
                                 #:41741



  1   distribute Sunday Ticket to sports bars and other similar commercial venues. These
  2   agreements concluded more than two years of negotiations between the NFL and
  3   numerous suitors. The most significant parts of those negotiations occurred months
  4   after the August 5, 2022 discovery cut-off, necessitating additional discovery
  5   beyond what was possible before the fact-discovery cut-off.
  6         B.     Depositions Taken Before the Fact Cut-off
  7         Back in May 2022, the parties reached an agreement to allow Plaintiffs to
  8   take additional depositions beyond the presumptive limits of Federal Rule of Civil
  9   Procedure 30(a)(2). Finn Decl. ¶ 4. The parties agreed to a list of 20 specific NFL,
 10   NFL Club, and non-DIRECTV third-party deponents whom Plaintiffs had
 11   identified at that time. Id. That list included a placeholder for the 30(b)(6)
 12   deposition of the then-unknown new Sunday Ticket rightsholder. Plaintiffs
 13   separately negotiated with DIRECTV to take depositions of their employees and
 14   former employees. Id. In total, Plaintiffs took 29 fact depositions between May 18
 15   and November 2, 2022. Id. ¶ 5. Each of these depositions took place months before
 16   the NFL reached agreement with Google and EverPass, and before the NFL
 17   produced more than a thousand documents about the negotiations that preceded
 18   those agreements. As a result, Plaintiffs were unable to obtain any testimony, in this
 19   action which seeks injunctive relief as well as damages, about the terms of the new
 20   agreements that will govern the distribution of Sunday Ticket for the current season
 21   and the next several years.
 22         C.     Order Permitting Limited Discovery After the Deadline for Fact
 23                Discovery
 24         By the summer of 2022, it became clear that the NFL would not reach a new
 25   agreement for Sunday Ticket by August 5, 2022. Plaintiffs therefore requested the
 26   Court’s permission to complete limited discovery on this subject after the cut-off
 27   for fact discovery. See Dkt. 545. As relevant here, Plaintiffs sought additional time
 28   “to continue taking discovery of ongoing negotiations for the sale of the rights to

                                                3
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 7 of 20 Page ID
                                 #:41742



  1   Sunday Ticket” and to “take limited document and deposition discovery about the
  2   new agreement after August 5.” Dkt. 546-2 at 1, 2, 12. In that motion, Plaintiffs
  3   referenced several depositions that they contemplated taking after the discovery
  4   cut-off: a 30(b)(6) deposition of an NFL witness, a deposition of the new
  5   rightsholder, and depositions of other bidders for those rights. Id. at 13. But they
  6   did not limit their request to these cited depositions. Instead, they represented that
  7   any disputes about the proper scope of such discovery would be raised with the
  8   Court at the appropriate time. Id. at 14. Plaintiffs’ proposed order thus sought
  9   additional time for “document and deposition discovery concerning the agreement
 10   for the future rights to Sunday Ticket,” without further specification or limitation.
 11   Dkt. 546-5.
 12         The Court granted that motion on August 11, 2022. Consistent with
 13   Plaintiffs’ request, the Order granted Plaintiffs additional time for “document and
 14   deposition discovery about the new NFL Sunday Ticket agreement once such a deal
 15   is finalized.” Dkt. 607 at 4 (emphasis added). The Court made clear that it was not
 16   expressing any opinion as to any pending discovery dispute between the parties,
 17   and that it was merely “extend[ing] the time in which Plaintiffs may seek additional
 18   discovery related to these matters and, if relevant, enforce compliance with orders
 19   on such motions.” Id. at 3.
 20         D.      The Order Compelling the NFL Defendants to Produce
 21                 Documents About the Negotiations
 22         On September 9, 2022, Magistrate Judge McDermott granted Plaintiffs’
 23   motion to compel production of documents from the NFL about the negotiations.
 24   Plaintiffs brought that motion because the NFL had refused to produce any
 25   contemporaneous documents about the negotiations that took place prior to the
 26   discovery cut-off. Dkt. 538-1 at 2 (Sealed Joint Stipulation for Motion to Compel).
 27   Plaintiffs’ Request for Production No. 112, served more than a year before the close
 28   of fact discovery, sought: “All presentations, analyses, strategic planning

                                                4
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 8 of 20 Page ID
                                 #:41743



  1   documents, and communications regarding the current negotiations for the rights to
  2   Sunday Ticket from January 1, 2021 to the present day (and continuing in nature
  3   pursuant to Rule 26(e)).” Id. at 6. Before filing that motion, Plaintiffs offered as a
  4   compromise that the NFL would 1) produce documents sufficient to show the status
  5   of the most recent proposals 14 days before the Rule 30(b)(6) deposition of the
  6   NFL representative, which was scheduled for July 28, 2022; 2) produce additional
  7   documents in December 2022; and 3) present an additional witness for deposition
  8   about those documents. Id. at 2. The NFL rejected that proposal.
  9         The NFL also refused to agree that it would present any 30(b)(6) witness to
 10   testify about the new agreement. In response to that refusal, Plaintiffs included in
 11   their proposed order the relief that “NFL shall make a witness available for
 12   deposition to provide testimony on behalf of the NFL regarding the negotiations for
 13   the rights to Sunday Ticket.” Dkt. 538-10 (Sealed Proposed Order). Plaintiffs
 14   sought this relief as part of their motion to compel documents to ensure that the
 15   NFL itself would provide testimony about the documents at issue in that motion.
 16   Plaintiffs did not in any way concede that the relief sought in that motion to compel
 17   document discovery and a 30(b)(6) deposition about the documents and
 18   negotiations would govern the scope of permissible post-discovery-cut-off
 19   depositions. As Plaintiffs made clear in their supplemental memorandum to that
 20   motion, “the parties [had] long contemplated that the execution of a new agreement
 21   would prompt additional discovery.” Dkt. 571-1 at 3 (Sealed Supplemental
 22   Memorandum).
 23         On September 12, 2022, the Court entered the proposed order—which was
 24   jointly drafted by the parties after the Court indicated that it would grant the motion
 25   to compel. That order compelled the NFL to produce documents responsive to RFP
 26   112 “dating from April 4, 2022 to the date on which an agreement is reached
 27   collected from the custodians agreed-upon by the parties using the electronic search
 28   terms agreed-upon by the parties,” and required the NFL to make a corporate

                                                5
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 9 of 20 Page ID
                                 #:41744



  1   representative available to provide testimony on those same negotiations. Dkt. 645
  2   at 2.
  3           E.   Plaintiffs’ Efforts to Obtain Discovery About the New Agreement
  4           On December 22, 2022, more than four months after the discovery cut-off,
  5   the NFL publicly announced that it had reached an agreement with Google that
  6   granted YouTube the rights to distribute Sunday Ticket to residential subscribers
  7   from the 2023 season onward. As required by the Court’s order on the motion to
  8   compel, the NFL produced that agreement and a limited number of related
  9   documents on January 13, 2023. Finn Decl. ¶ 7. The NFL produced additional
 10   documents concerning the negotiations on March 9, 2023 and April 20, 2023. Id.
 11   ¶¶ 8, 10. The latter production included documents concerning the agreement
 12   between the NFL and Red Bird Capital Partners to create EverPass Media, the
 13   entity that now holds the exclusive rights to distribute Sunday Ticket to commercial
 14   subscribers. Id. ¶ 11.
 15           On March 30, 2023, following their review of the NFL’s productions,
 16   Plaintiffs served subpoenas for documents concerning the negotiations on Apple,
 17   EverPass, Google, Goldman Sachs, and Red Bird. After months of negotiations
 18   over much resistance, Plaintiffs finally obtained documents from each of these
 19   parties. Id. ¶ 16. On August 17, 2023, Plaintiffs moved to compel additional
 20   discovery from Google in the Northern District of California. The Court granted
 21   that motion on September 13, 2023. In re: NFL’s “Sunday Ticket” Antitrust
 22   Litigation, No. 5:23-mc-80213-NC (N.D. Cal. Sept. 13, 2023), Dkt. 15.
 23           Meanwhile, Plaintiffs and the NFL continued to confer about the proper
 24   scope of document production. Finn Decl. ¶ 18. On April 25, 2023, the Court
 25   granted in part Plaintiffs’ motion to compel the NFL to collect additional
 26   documents using a broader set of search terms. The NFL made a supplemental
 27   production pursuant to that order on June 16, 2023. Id. ¶ 17. Following numerous
 28   meet-and-confer sessions between the parties about documents that Plaintiffs

                                               6
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 10 of 20 Page ID
                                  #:41745



  1   contended that the NFL unjustifiably withheld for privilege, the NFL produced
  2   additional documents about the negotiations on August 21, 2023; September 14,
  3   2023; September 20, 2023; September 21, 2023; and October 2, 2023. Id. ¶ 19.
  4          On September 22, 2023, once the disputes over the proper scope of document
  5   production were largely resolved, Plaintiffs served notices of deposition on the
  6   following NFL witnesses: Brian Rolapp, Dhruv Prasad, Brent Lawton, and William
  7   Deng.1 Id. ¶ 20.
  8

  9
 10          The parties met-and-conferred on these depositions on October 2, 2023. Id.
 11   ¶ 21. During that conference, the NFL represented that it would not be presenting
 12   any witnesses for deposition other than the one corporate representative specifically
 13   ordered by Magistrate Judge McDermott. Id. The NFL’s justification for this
 14   refusal is based on their narrow and crabbed reading of Judge McDermott’s order.
 15   Plaintiffs informed the NFL that they would be filing a motion to compel
 16   compliance with the Court’s Order of August 11, 2022. Id. Plaintiffs requested that
 17   the NFL permit Plaintiffs to file this motion on October 6, 2023—four days after
 18   the parties met-and-conferred—to expedite resolution of this dispute. Id. ¶ 22. The
 19   NFL refused. Id. ¶ 23.
 20   III.   ARGUMENT
 21          The four depositions noticed by Plaintiffs are authorized by this Court’s
 22   Order. They are also well within the bounds of Rule 26 because each deposition
 23   seeks discovery that is plainly relevant to Plaintiffs’ antitrust case.
 24          The NFL’s decision to continue to impose the challenged output restraints in
 25   the new Sunday Ticket agreements make discovery about those agreements, as well
 26   as alternative agreements that were proposed and rejected, of obvious importance to
 27
      1
       Plaintiffs have separately served deposition subpoenas on Goldman Sachs, Apple,
 28
      Google, and EverPass.
                                                  7
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 11 of 20 Page ID
                                  #:41746



  1   this case. The terms of the new agreement with Google themselves cry out for
  2   additional discovery, not the least of which
  3

  4

  5                                  . Plaintiffs are entitled to discovery on these subjects
  6   from the NFL, which will allow them to gather evidence about these important
  7   aspects in advance of trial.
  8         The discussions that preceded the new agreements also bear directly on
  9   issues that are material to the NFL’s liability, including the agreed-upon
 10   anticompetitive restrictions on output, the supracompetitive prices of Sunday
 11   Ticket, the NFL’s role in setting those prices, and the prices that would exist but for
 12   the challenged restraints. Each witness played a leading role in these discussions.
 13         Yet the NFL refuses to present any of the noticed witnesses for deposition
 14   testimony. The NFL premises its refusal on the erroneous position that its only
 15   remaining discovery obligation is to produce a 30(b)(6) witness that was ordered by
 16   Magistrate Judge McDermott last year. But that deposition was ordered pursuant to
 17   a separate motion to compel production of documents. See Dkt. 645 at 2. That order
 18   does not govern the scope of all permissible discovery on the new agreement. By
 19   contrast, the Court’s August 11, 2022 Order expressly permitted deposition
 20   testimony on this subject. And it does not limit Plaintiffs to a single deposition.
 21         A.     The Noticed Depositions Are Authorized by Court Order.
 22         The NFL’s refusal to present any percipient witnesses to provide deposition
 23   testimony on the new Sunday Ticket agreement contravenes this Court’s
 24   authorizing “deposition discovery about the new NFL Sunday Ticket agreement
 25   once such a deal is finalized.” Dkt. 607 at 4. That is precisely the discovery that
 26

 27

 28

                                                 8
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 12 of 20 Page ID
                                  #:41747



  1   Plaintiffs seek from the deposition notices at issue.2 Each of the four NFL
  2   employees—Brian Rolapp, Dhruv Prasad, Brent Lawton, and William Deng—
  3

  4

  5

  6                From these percipient witnesses, Plaintiffs intend to elicit testimony
  7   regarding how the terms of the new agreement were reached, the underlying
  8   negotiations, and the proposals and counterproposals exchanged between the NFL
  9   and other various bidders. They therefore fall within the scope of the Court’s Order.
 10         That Order permitted deposition testimony on the new Sunday Ticket
 11   agreement without limitation. See generally id. The NFL has no legitimate basis to
 12   refuse to comply with Plaintiffs’ reasonable notices of deposition.
 13         B.     The Noticed Depositions Are Relevant and Proportional.
 14         The noticed depositions are also well within the scope of permissible
 15   discovery under Rule 26. Indeed, the same principles that justified modifying the
 16   schedule to permit discovery about these negotiations—and compelling the NFL to
 17   produce documents and a corporate witness on the subject—apply with equal force
 18   to the deposition testimony at issue here.
 19         Discovery about the recently executed agreement between the NFL and
 20   Google is plainly relevant. That agreement will be featured significantly at trial.
 21   Plaintiffs seek equitable relief in this litigation regarding the NFL’s ongoing
 22   anticompetitive conduct and the Court has certified an injunctive relief class
 23   pursuant to Fed. R. Civ. P. 23(b)(2). Dkt. 894. The terms of the new agreement bear
 24   on the appropriate scope of that relief, as the Court acknowledged in its class
 25   certification order. Id. at 22 (“the Court finds that because Defendants’ conduct is
 26
      2
 27     Plaintiffs reserve the right to notice and conduct additional depositions for good
      cause shown, such as if any of the four noticed witnesses disclaim knowledge about
 28
      the various proposals and negotiations regarding the Sunday Ticket package.
                                                   9
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 13 of 20 Page ID
                                  #:41748



  1   likely to continue, albeit with a new home for Sunday Ticket, the entire class is
  2   likely to continue to be subjected to Defendants’ anticompetitive restraints on
  3   telecasts”). The Court also recognized the relevance of the new agreement to
  4   Plaintiffs’ broader case, noting “the challenged conduct driving this antitrust case
  5   remains ongoing, without a commitment from Defendants that it will end.” Id. at 21
  6   (“Indeed, at the hearing, the parties acknowledged that, at the end of the 2022–2023
  7   football season, Sunday Ticket will be moving to Google-owned YouTube, behind
  8   a subscription paywall.”). The depositions will shed light on the negotiations
  9   leading up to the restraints that the NFL has imposed pursuant to the new
 10   agreement and why.
 11         Discovery of the negotiations with other parties is relevant for the same
 12   reasons. The NFL’s discussions and negotiations regarding proposals made about
 13   the appropriate retail price, output, and method of distribution of out-of-market
 14   football games bear directly on the claims at issue in this case. As a specific
 15   example,
 16

 17                                                                                         .
 18   All of the above evidence is germane to Plaintiffs’ contentions that the NFL has
 19   conspired, and continues to conspire, to restrict the output of out-of-market telecasts
 20   and raises the prices charged to access those telecasts.
 21         Each of the noticed deponents can provide relevant information on these
 22   issues. Brian Rolapp is the NFL’s Chief Media and Business Officer, who reports
 23   directly to Commissioner Roger Goodell.
 24

 25

 26

 27

 28

                                                10
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 14 of 20 Page ID
                                  #:41749



  1

  2
  3

  4

  5

  6

  7

  8         The other noticed deponents—Dhruv Prasad, Brent Lawton, and William
  9   Deng—also have personal knowledge of material issues.
 10

 11

 12

 13

 14

 15

 16

 17

 18
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                           11
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 15 of 20 Page ID
                                  #:41750



  1

  2
  3         These four individuals were the key players in an effort that involved
  4   numerous other executives and employees from the NFL and NFL clubs.
  5

  6

  7

  8

  9
 10                                                                          Yet Plaintiffs
 11   have sought to keep the discovery narrow by focusing on those individuals whom
 12   the documents indicate are the most important.
 13         Because each of these witnesses will provide unique, relevant testimony,
 14   their depositions are permissible under Rule 26(b)(2). Rule 26 provides that
 15   relevant discovery should be allowed unless the Court determines that: (1) the
 16   discovery sought is unreasonably cumulative or duplicative, or is obtainable from
 17   some other source that is more convenient, less burdensome, or less expensive; (2)
 18   the moving party has had ample opportunity to obtain the information by discovery
 19   in the action; or (3) the burden or expense of the proposed discovery outweighs its
 20   likely benefit, in light of the factors listed in the Rule. Fed. R. Civ. P.
 21   26(b)(2)(C)(i)-(iii). None of these exceptions apply here.
 22         First, these depositions are neither cumulative nor duplicative. Plaintiffs were
 23   unable to question witnesses about the new agreements before those agreements
 24   were executed. Nor could they be expected to depose witnesses about the
 25   negotiations until the relevant documents were produced. Both of these
 26   developments took place after August 5, 2022, and well after the initial round of
 27   depositions were completed. Neither Deng nor Prasad was previously deposed. To
 28   the extent that Rolapp and Lawton addressed these subjects in their depositions,

                                               12
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 16 of 20 Page ID
                                  #:41751



  1

  2                For those reasons, Plaintiffs have not had any opportunity to obtain this
  3   information until now. Again, that is the very reason that this Court permitted
  4   discovery on the subject to extend beyond the fact-discovery cut-off.
  5         Second, the benefits of the requested depositions outweigh any potential
  6   burdens. As described above, the “needs of the case,” the “importance of the issues
  7   at stake in the action,” and “the importance of the discovery in resolving the issues”
  8   all counsel in favor of these four depositions. See Fed. R. Civ. P. 26(b)(2)(C)(iii). In
  9   contrast, the burden of allowing a reasonable number of additional depositions in a
 10   complex antitrust case like this one is not high. The “parties’ resources” are clearly
 11   adequate to handle the requested discovery. Id. And no prejudice would result here
 12   because continuing fact discovery in the manner requested will neither force the
 13   NFL to make “major alterations in trial tactics and strategy” nor delay the trial date.
 14   Multiple Energy Techs., LLC v. Casden, 2022 WL 16972482, at *4 (C.D. Cal. Nov.
 15   16, 2022) (finding that these factors minimized the risk of prejudice to defendant
 16   and granting motion to reopen discovery). The NFL produced more than a thousand
 17   documents on the negotiations after the discovery cut-off. Finn Decl. ¶¶ 7-8, 10, 17,
 18   19.
 19         There is no reason why allowing Plaintiffs to pursue some additional
 20   discovery would harm any legitimate interest of the NFL. Nor will it affect any
 21   other aspect of the Court’s schedule. The four noticed depositions can be completed
 22   well before the end of the year, and well ahead of trial and any other pre-trial
 23   deadlines.
 24         C.     Plaintiffs Did Not Waive Any Rights to the Noticed Depositions.
 25         The NFL’s only justification for refusing to present witnesses is that
 26   Plaintiffs somehow waived their right to these depositions by not specifically
 27   raising them in prior motion practice. The NFL insists that it need only present the
 28   30(b)(6) witness that was expressly ordered by the Court because Plaintiffs did not

                                                13
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 17 of 20 Page ID
                                  #:41752



  1   seek specific leave for these depositions. This argument is meritless for at least two
  2   reasons.
  3         First, the NFL conflates two separate orders issued by this Court. The Court’s
  4   order of September 12, 2022 granted Plaintiffs’ motion to compel production of
  5   documents pursuant to a request that was served during fact discovery. In the course
  6   of pre-motion negotiations over that discovery request, the NFL represented that it
  7   would also refuse to present a corporate representative to give testimony on the new
  8   agreement. That refusal prompted Plaintiffs to include the 30(b)(6) deposition as
  9   part of the requested relief in their motion. The issue of other deposition testimony
 10   from percipient witnesses was not raised during the parties’ negotiations and
 11   Plaintiffs did not address it in their motion. They sought only the relief over which
 12   the parties had reached an impasse—additional production of documents and a
 13   30(b)(6) deposition. That relief sets the floor for permissible discovery on the new
 14   agreement, not the limit. A request for additional depositions would have been
 15   premature at that stage, as Plaintiffs had not yet obtained the underlying documents.
 16   For that reason, Plaintiffs made no representations that the relief sought would
 17   govern the scope of permissible discovery on the new agreement once it was
 18   reached.
 19         Instead, Plaintiffs brought a separate motion to amend the schedule for
 20   limited document and deposition discovery about the new deal. In that motion,
 21   Plaintiffs cited several specific depositions that they were contemplating at that
 22   juncture as examples of the nature of the discovery sought. Again, that motion was
 23   made well before Plaintiffs had the benefit of reviewing the documents that show
 24   the direct involvement of the four NFL employees at issue here. But Plaintiffs never
 25   represented that they would limit themselves to the exemplar depositions referenced
 26   in the motion. The proposed order made that clear: Plaintiffs sought the generalized
 27   relief of “document and deposition discovery concerning the agreement for the
 28   future rights to Sunday Ticket.” Dkt. 555-17 (Sealed Proposed Order). Consistent

                                               14
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 18 of 20 Page ID
                                  #:41753



  1   with that request, the Court’s Order does not limit the relief to any specific
  2   depositions.
  3         Second, Plaintiffs are not required to seek additional leave from this Court
  4   before noticing these particular depositions. This is true even though Plaintiffs have
  5   already exceeded Rule 30(a)(2)’s presumptive limit of 10 depositions. The Court
  6   already granted leave to exceed those limits when it authorized “deposition
  7   discovery about the new NFL Sunday Ticket agreement once such a deal is
  8   finalized.” Dkt. 607 at 4. When the Court did so, it was well aware that the parties
  9   would have completed “25 or more depositions prior to the fact discovery cut-off.”
 10   Dkt. 581 at 2. The parties informed the Court of this fact on July 29, 2022 in a joint
 11   stipulation, which the Court approved on August 1, 2022—ten days before granting
 12   Plaintiffs’ motion to take discovery after the cut-off. See Dkt. 592. The Court’s
 13   August 11 Order expressly permits Plaintiffs to take additional depositions.
 14   Accepting the NFL’s contention—that Plaintiffs are required to seek leave again to
 15   take these specific depositions—would effectively nullify that Order.
 16         Even if Plaintiffs were required to obtain leave to take these four depositions,
 17   the Court should do so here. The Court “must grant leave” to take more than ten
 18   depositions when it is “consistent with Rule 26(b)(1) and (2).” Fed. R. Civ. P.
 19   30(a)(2). These depositions are demonstrably relevant and proportional to the needs
 20   of this multi-billion-dollar antitrust case. Courts routinely expand deposition limits
 21   when the concerns underlying Rule 26(b)(2)(C) are not implicated. C & C Jewelry
 22   Mfg., Inc. v. West, 2011 WL 767839, at *1 (N.D. Cal. Feb. 28, 2011); Century
 23   Aluminum Co. v. AGCS Marine Ins. Co., 2012 WL 2357446, at *3 (N.D. Cal. June
 24   14, 2012). That is especially true where, as here, the party seeking discovery has
 25   already exhausted Rule 30(a)’s presumptive limit. See id. Courts similarly permit
 26   the deposition of a previously deposed deponent when that second deposition is
 27   consistent with Rule 26. Cedars-Sinai Med. Ctr. v. Quest Diagnostics Inc., 2019
 28   WL 12520126, at *2 (C.D. Cal. Apr. 1, 2019). Because the four noticed depositions

                                               15
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 19 of 20 Page ID
                                  #:41754



  1   are highly relevant to Plaintiffs’ antitrust claims, and not duplicative of discovery
  2   that was taken during the fact-discovery period, they are permissible.
  3   IV.   CONCLUSION
  4         For the foregoing reasons, the Court should compel the NFL to present Brian
  5   Rolapp, Dhruv Prasad, Brent Lawton, and William Deng for deposition testimony
  6   about the new Sunday Ticket agreements and the discussions and negotiations
  7   leading up to and about those agreements.
  8

  9
         Dated: October 13, 2023             Respectfully submitted,
 10

 11                                          By:     /s/ Marc M. Seltzer
                                                     Marc M. Seltzer
 12

 13
                                                   Marc M. Seltzer (54534)
                                                   mseltzer@susmangodfrey.com
 14
                                                   SUSMAN GODFREY L.L.P.
                                                   1900 Avenue of the Stars, Suite 1400
 15
                                                   Los Angeles, CA 90067
                                                   Tel: (310) 789-3100
 16
                                                   Fax: (310) 789-3150

 17
                                                   William C. Carmody (Pro Hac Vice)
                                                   bcarmody@susmangodfrey.com
 18
                                                   Seth Ard (Pro Hac Vice)
                                                   sard@susmangodfrey.com
 19
                                                   Tyler Finn (Pro Hac Vice)
                                                   tfinn@susmangodfrey.com
 20
                                                   SUSMAN GODFREY L.L.P
                                                   1301 Avenue of the Americas, 32nd Fl.
 21
                                                   New York, NY 10019
                                                   Tel: (212) 336-8330
 22
                                                   Fax: (212) 336-8340

 23
                                                   Ian M. Gore (Pro Hac Vice)
                                                   igore@susmangodfrey.com
 24
                                                   SUSMAN GODFREY L.L.P.
                                                   401 Union Street, Suite 3000
 25
                                                   Seattle, WA 98101
                                                   Tel: (206) 505-3841
 26
                                                   Fax: (206) 516-3883

 27
                                                   Scott Martin (Pro Hac Vice)
                                                   smartin@hausfeld.com
 28
                                                   HAUSFELD LLP
                                                   33 Whitehall Street, 14th Floor

                                               16
Case 2:15-ml-02668-PSG-SK Document 1010-2 Filed 10/13/23 Page 20 of 20 Page ID
                                  #:41755


                                             New York, NY 10004
  1                                          Tel: (646) 357-1100
                                             Fax: (212) 202-4322
  2
                                             Christopher L. Lebsock (184546)
  3                                          clebsock@hausfeld.com
                                             HAUSFELD LLP
  4                                          600 Montgomery St., Suite 3200
                                             San Francisco, CA 94111
  5                                          Tel: (415) 633-1908
                                             Fax: (415) 633-4980
  6
                                             Sathya S. Gosselin (269171)
  7                                          sgosselin@hausfeld.com
                                             Farhad Mirzadeh (Pro Hac Vice)
  8                                          fmirzadeh@hausfeld.com
                                             HAUSFELD LLP
  9                                          888 16th Street, N.W., Suite 300
                                             Washington, DC 20006
 10                                          Tel: (202) 540-7200
                                             Fax: (202) 540-7201
 11
                                             Howard Langer (Pro Hac Vice)
 12                                          hlanger@langergrogan.com
 13                                          Edward Diver (Pro Hac Vice)
                                             ndiver@langergrogan.com
 14                                          Peter Leckman (235721)
                                             pleckman@langergrogan.com
 15                                          Kevin Trainer (Pro Hac Vice)
                                             ktrainer@langergrogan.com
 16                                          LANGER GROGAN AND DIVER PC
                                             1717 Arch Street, Suite 4020
 17                                          Philadelphia, PA 19103
                                             Tel: (215) 320-5660
 18                                          Fax: (215) 320-5703
 19                                          Plaintiffs’ Co-Lead Counsel
 20

 21

 22

 23

 24

 25

 26

 27

 28

                                           17
